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12                              UNITED STATES DISTRICT COURT

13                                 FOR THE DISTRICT OF IDAHO

14    SCOTT HERNDON, REV. JOSH JONES,                        CASE NO.:
      and REV. MICHAEL GULOTTA,
15
                     Plaintiffs,                             VERIFIED COMPLAINT FOR
16                                                           DECLARATORY RELIEF,
             v.                                              TEMPORARY RESRAINING
17                                                           ORDER, PRELIMINARY AND
      Governor BRADLEY JAY LITTLE, in his                    PERMANENT INJUNCTIVE
18    official capacity, DAVE JEPPESEN, in his               RELIEF
      official capacity as Director of the Idaho
19    Department of Health and Welfare,

20                   Defendants.

21

22          Plaintiffs Scott Herndon, Rev. Josh Jones, and Rev. Michael Gulotta, in their
23   individual capacity, and on behalf of all similarly situated citizens, bring this action to


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 1   declare the Order to Self-Isolate of the Director of the Idaho Department of Health and

 2   Welfare dated March 25, 2020, and amended on April 15, 2020 and April 30, 2020 (Stay-
     Home Order) unconstitutional and to stop Governor Little and Director Jeppesen from
 3
     violating their rights under the First, Fifth, and Fourteenth Amendments of the United States
 4
     Constitution, the Religious Land Use and Institutionalized Persons Act, Article 1 and 21 of
 5
     the Idaho Constitution, and the Idaho Religious Freedom Restoration Act. Plaintiffs allege as
 6   follows:

 7                                          I.     OVERVIEW

 8          1. In Idaho, it is lawful to have bread and wine delivered to your house, whether
     through a common carrier such as FedEx, UPS, or the USPS, or through a delivery service
 9
     such as DoorDash, Grubhub, or Uber Eats.
10
            2. However, if the person delivering the bread and wine happens to be a pastor, if
11   instead of “here’s your food,” he says, “The Lord Jesus Christ, on the night He was betrayed,
12   took bread…,” and if you and the pastor believe that he is, by doing so, administering to you

13   the Sacrament of Holy Communion, then you have both violated the Stay-Home Order. That
     is a crime.
14
            3. The only difference between the two scenarios is (1) the Word of God being
15
     spoken and (2) the religious beliefs of the parties involved.
16
            4. Furthermore, you may legally congregate with family and friends – with proper
17   “social distancing” – at the local Albertson’s, Fred Meyer, or Super 1, but not at your local
18   church. Obtaining a loaf of sandwich bread is “essential” and legal but attaining the “Bread

19   of Life” is a crime, according to the Stay-Home Order.
            5. The only difference between those two scenarios is the religious purpose
20
     involved, as both can be conducted in accordance with CDC health guidelines.
21
            6. Plaintiffs seek an order restraining enforcement against them of the Stay-Home
22
     Order which purports to prohibit them, on pain of criminal sanctions including arrest and
23


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 1   imprisonment from gathering together in any location regardless of whether they meet or

 2   exceed the “social distancing” and hygiene guidelines.
             7. The Stay-Home Order discriminatorily allows “essential” businesses and
 3
     activities to continue unfettered with large crowds of people only because those gatherings
 4
     are not “faith based” or for “spiritual” purposes.
 5
             8. As demonstrated herein, the Stay-Home Order has been interpreted by local law
 6   enforcement such that most churches have closed and most religious gatherings have ceased,

 7   and those that continue do so under actual threat of intervention by local and state law

 8   enforcement.
             9. The Governor of Kansas imposed less draconian restrictions on religious
 9
     gatherings than those in Idaho, allowing up to 10 individuals to continue to gather, yet on
10
     April 18, 2020, the United States District Court for the District of Kansas issued a TRO
11   enjoining its enforcement and ordering the government of Kansas to treat “religious”
12   gatherings the same as secular ones. See First Baptist Church v. Kelly, No. 20-1102-JWB,

13   2020 WL 1910021, *6–7 (D. Kan. Apr. 18, 2020). Notable in the First Baptist TRO is the
     holding that the Kansas order violated the Free Exercise Clause because, “religious activities
14
     were specifically targeted for more onerous restrictions than comparable secular activities.”
15
     Id. at *7.
16
             10. Like the Idaho Stay-Home Order, which specifically orders the immediate
17   cessation of all “spiritual” and “faith-based” gatherings of any size, so, too, the Kansas order
18   singled out religious gatherings while permitting other non-religious activities. The Court

19   held that this disparate treatment, “show[s] that these executive orders expressly target
     religious gatherings on a broad scale and are, therefore, not facially neutral,” Id. at *7.
20
             11. As Free Exercise Clause jurisprudence demonstrates, “it goes without saying that
21
     the government could not lawfully expressly prohibit individuals from meeting together for
22
     religious services.” Id. at *6.
23


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 1                                              II.     PARTIES

 2             12. Plaintiff Scott Herndon is a resident of Sagle, Bonner County, Idaho, who wishes
     to attend the local church because the same has ceased operation in obedience to the
 3
     governor’s Stay-Home Order.
 4
               13. Plaintiff Josh Jones is a resident of Laclede, Idaho, and pastor of Laclede
 5
     Community Church in Laclede, Idaho, who risks criminal sanctions if he continues to hold
 6   church services and otherwise carry out his vocation as a pastor. He has even been advised

 7   by the local Sheriff that he would do so at the continual risk of arrest by the Idaho State

 8   Police.
               14. Plaintiff Michael Gulotta is a resident of Grangeville, Idaho, and pastor of
 9
     Grangeville Christian Reformed Church in Grangeville, Idaho, who risks criminal sanctions
10
     if he continues to hold church services and otherwise carry out his vocation as a pastor.
11             15. Defendant Bradley Jay Little ordered the issuance of the Stay-Home Order at
12   issue in this case and is sued in his official capacity as the Governor of Idaho.

13             16. Defendant Dave Jeppesen, at the direction of Governor Little, issued the Stay-
     Home Order at issue in this case and is sued in his official capacity as the Director of the
14
     Idaho Department of Health and Welfare.
15
                                    III.    JURISDICTION AND VENUE
16
               17. This action arises under the First and Fourteenth Amendments to the United
17   States Constitution and the Religious Land Use and Institutionalized Persons Act, and is
18   brought under 42 U.S.C. § 1983 and 42 U.S.C. §§ 2000cc-2000cc-5.

19             18. This action also arises under Article I, Sections 1, 4, 9, and 10 of the Idaho
     Constitution, Article 21, Section 19 of the Idaho Constitution, and the Idaho Religious
20
     Freedom Restoration Act, Idaho Code § 73-401 et seq.
21
               19. This Court has subject matter jurisdiction over the federal claims under 28 U.S.C.
22
     §§ 1331 and 1343.
23


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 1           20. This Court has supplemental jurisdiction over the state claims under 28 U.S.C. §

 2   1367.
             21. This court has the authority to grant the requested declaratory relief under 28
 3
     U.S.C. §§ 2201 and 2202, the requested injunctive relief under 28 U.S.C. § 1343, and
 4
     reasonable attorney’s fees and costs under 42 U.S.C. § 1988 and I.C. § 73-402(4).
 5
             22. Venue is proper in this Court under 28 U.S.C. § 1391(b) because a substantial
 6   part, if not all, of the events or omissions giving rise to the claims occurred in this district

 7   and Defendants reside in this district.

 8                                               IV.    FACTS
                 A. The Stay-Home Order in General
 9
             23. On March 25, 2020, Idaho Governor and Defendant Bradley Jay Little ordered
10
     the Director of the Idaho Department of Health and Welfare to issue an Order to Self-Isolate.
11   The same day Defendant Dave Jeppesen, Director of the Idaho Department of Health and
12   Welfare, issued an Order to Self-Isolate.

13           24. That Stay-Home Order was amended on April 15, 2020. True and correct copies
     of the Stay-Home Order, the Governor’s Proclamations as amended, and the Stay Healthy
14
     Order along with the CDC guidelines are attached as Exhibit A and incorporated herein
15
     (“Stay-Home Order”).
16
             25. The Stay-Home Order directs “all businesses” to cease “nonessential operations”
17   and “prohibit[s] all non-essential gatherings of any number of individuals.”
18           26. Section 7 of the Stay-Home Order prohibits intrastate travel “except for those

19   purposes defined in Section 8.”
             27. Section 8 of the Stay-Home Order prohibits individuals from traveling away from
20
     their residence except to perform “Essential Activities” as defined therein.
21
             28. The first page of the Stay-Home Order bears the following sentences: “Please
22
     read this Order carefully. Violation of or failure to comply with this Order could constitute a
23   misdemeanor punishable by fine, imprisonment, or both. Idaho Code § 56-1003(7)(C).”


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 1             29. Idaho Code § 56-1003(7)(C) reads: “Any person who violates an order of

 2   isolation or quarantine shall be guilty of a misdemeanor.”
               30. Idaho Code Ann. § 18-111B defines “misdemeanor” as follows: “Wherever the
 3
     words misdemeanor, petty misdemeanor or violation are used in the entire Idaho Code as
 4
     well as the 1972 Session Law amendments thereto, these terms or any of them shall be
 5
     construed to mean misdemeanor and shall be punished, unless otherwise provided for in a
 6   specific act, as provided under the General Misdemeanor Statute contained in section 18-

 7   113, Idaho Code.”

 8             31. Idaho Code § 18-113(1) sets forth the punishment for a misdemeanor in the
     following words: “Except in cases where a different punishment is prescribed in this code,
 9
     every offense declared to be a misdemeanor, is punishable by imprisonment in a county jail
10
     not exceeding six (6) months, or by a fine not exceeding one thousand dollars ($1,000), or by
11   both.”
12             32. The Idaho Governor and the Idaho Attorney General have both stated verbally

13   and in writing that the Stay-Home Order is enforceable.
                  B. The Stay-Home Order with Respect to Religion
14
               33. Church attendance is not included in the definition of “Essential Activities” in the
15
     Stay-Home Order.
16
               34. Pastoral work is not included in the definition of “Essential Activities” in the
17   Stay-Home Order.
18             35. Essential and non-essential business, operations, and activities are further defined

19   in a supplementary document titled “Essential Services.” See Exhibit B, attached.
               36. Churches are not defined as “essential services” in that supplementary document.
20
               37. Pastors are not defined as essential workers in that supplementary document,
21
     either.
22

23


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 1          38. Further guidance for the Stay-Home Order is given in another supplementary

 2   document titled “Additional Guidance on Statewide Stay-Home Order.” See Exhibit C,
     attached.
 3
            39. That “Additional Guidance” clarifies that churches may legally livestream their
 4
     religious services “so long as only the minimum personnel necessary to stream the service
 5
     (no more than 5) and the individuals maintain the Social Distancing Requirements in the
 6   Order.”

 7          40. In other words, per the Stay-Home Order as supplemented by the aforementioned

 8   documents, in the State of Idaho, no pastor may legally perform his usual Sunday church
     services in his usual church building with the usual parishioners in attendance; he may only
 9
     conduct a live or recorded video presentation, and only as long as no more than four other
10
     people are present with him in the building. Everyone else in his congregation who normally
11   would attend, are prohibited from attending.
12          41. Further, because only “essential” travel is permitted, a pastor may not legally

13   travel to the homes of his congregants for the purpose of conducting in-home church services
     or administering the sacraments of his religion with them at their homes.
14
            42. Said another way, the vocation of priests has been stopped by edict of the
15
     Defendants, in contravention of the U.S. Supreme Court’s decision in Holy Trinity Church,
16
     143 U.S. 457 (1892) (held: it was inconceivable that Congress had authority to pass a law
17   restricting the employment of a priest at a local church).
18          43. Despite the fact that the Stay-Home Order bans all “faith-based” and “spiritual”

19   gatherings, it specifically includes under Section 8 as “essential businesses” such activities
     as:
20

21

22

23


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 1              a. “b. “... other healthcare facilities,1 ... This exemption shall be construed

 2                  broadly to avoid any impacts to the delivery of healthcare, broadly defined.”;
                b. “f. (ii). ... convenience stores, and other establishments engaged in the retail
 3
                    sale of ... liquor, beer, and wine”;
 4
                c. “f. (v). Newspapers, television, radio, and other media services;”
 5
                d. “f. (viii). “... firearms businesses as provided for in Idaho Code section 46-
 6                  601(3):”

 7              e. “f. (xi.) Educational institutions…for purposes of…performing essential

 8                  functions, provided that social distancing of six-feet per person is maintained
                    to the greatest extent possible;” and
 9
                f. “f. (xxv.) Businesses that are able to operate via curbside services, drive in,
10
                    drive through pick up, mailed services or delivery services.”
11          44. As demonstrated by the declaration of Rev. Jonathon Krenz, including the e-mail
12   from Moscow Police Chief Fry attached as Attachment 1 thereto, the Stay-Home Order has

13   been interpreted by local law enforcement as prohibiting in-person church services with any
     form of physical exchange, though the same is permitted to the myriad stores and restaurants
14
     that remain open. See Exhibit D, Declaration of Rev. Krenz, incorporated herein.
15
            45. Several other states, such as, inter alia, Arizona, Florida, and Texas have
16
     demonstrated that less-restrictive means are available by issuing orders classifying religious
17   services as “essential” and allowing in-person gatherings that comply with social distancing
18   and hygiene requirements just like non-religious “essential” businesses. See true and correct

19   copies of the Arizona, Florida, and Texas orders, attached as Exhibits E, F, and G,
     respectively, and incorporated herein.
20

21

22

23   1Four abortion clinics continue to operate as “essential businesses,” ending the lives of 25
     unborn children in Idaho each week.

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 1           46. Those states have demonstrated that Defendants could pursue their stated

 2   objective of preventing the spread of COVID-19 without discriminating against religious
     gatherings and that they have less-restrictive alternatives available.
 3
             47. Nonetheless, the State of Idaho continues to threaten Plaintiffs with fines, arrest
 4
     and a jail sentence, as cited above, should they exercise their rights under the U.S. and state
 5
     constitutions and statutes.
 6           48. Defendants have not even attempted, evaluated, or even considered less

 7   restrictive alternatives.

 8           49. Declaratory and injunctive relief are therefore needed to preserve Plaintiffs’
     constitutional rights, as further explained herein.
 9
                                                 COUNT I:
10
                                 Violation of the Free Exercise Clause of the
11                               First Amendment to the U.S. Constitution
12           50. Plaintiffs incorporate by reference all paragraphs in Sections I through IV, supra.

13           51. Plaintiffs have the deep-seated sincerely-held religious beliefs that the Christian
     Bible, also known as Scripture, is the inerrant, infallible, efficacious, perspicuous, and all-
14
     sufficient Word of God.
15
             52. Plaintiffs Jones and Gulotta, as pastors, have the deep-seated sincerely-held
16
     religious beliefs that they are required to personally and physically preach the Bible and
17   administer the Sacraments of Holy Baptism and Holy Communion to their parishioners in a
18   communal setting.

19           53. Plaintiff Herndon has the deep-seated sincerely-held religious belief that he is
     required to regularly attend church.
20
             54. All Plaintiffs have the deep-seated sincerely-held religious beliefs, contained in
21
     the Bible, that they should, e.g., “not neglect[] to meet together, as is the habit of some, but
22
     encourag[e] one another, and all the more as [they] see the Day drawing near.” (Hebrews
23   10:25 ESV).


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 1           55. The media have widely documented the fact, and Plaintiffs request the Court to

 2   take judicial notice thereof, that people in Idaho may, according to the Stay-Home Order,
     park next to each other in the parking lots of various stores such as Albertson’s, Home
 3
     Depot, Lowe’s, Super 1, and Walmart, and they can follow each other up and down the aisles
 4
     and queue up in check-out lines in those stores.
 5
             56. However, according to the clear words of the Stay-Home Order, and according to
 6   the interpretation of Moscow Police Chief Fry (referenced above), they may not park in a

 7   church parking lot and exit their vehicles and follow each other into a church and queue up to

 8   receive a religious sacrament; indeed, they may not even do so in a drive-through format
     while remaining in their cars.
 9
             57. Thus, the Stay-Home Order is, both on its face and as applied, neither neutral nor
10
     generally applicable.
11           58. Rather, it specifically and discriminatorily targets the religious beliefs, speech,
12   assembly, and viewpoints of Plaintiffs.

13           59. The Stay-Home Order, both on its face and as applied, targets Plaintiffs’ free
     exercise of religion by prohibiting in-person gatherings and by prohibiting administration of
14
     their religious Sacraments.
15
             60. The Stay-Home Order, both on its face and as applied, substantially and
16
     impermissibly burdens Plaintiffs’ free exercise of religion by prohibiting in-person
17   gatherings and by prohibiting administration of their Sacraments.
18           61. Plaintiffs are forced by the Stay-Home Order to either change their deep-seated

19   sincerely-held religious beliefs or to act in contradiction to them; they are forced to choose
     between the requirements of their deep-seated sincerely-held religious beliefs in Scripture
20
     and the requirements imposed by the Stay-Home Order.
21
             62. The Stay-Home Order, both on its face and as applied, places Plaintiffs in an
22
     irreconcilable conflict between the Stay-Home Order and their deep-seated sincerely-held
23   religious beliefs.


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 1           63. The Stay-Home Order, both on its face and as applied, places substantial pressure

 2   on Plaintiffs to violate their deep-seated sincerely-held religious beliefs by ignoring
     fundamental teachings of Scripture – to wit, the regular gathering together of believers and
 3
     administration of Sacraments – as they have been interpreted and applied by Christians
 4
     around the world, including during times of persecution, for millennia.
 5
             64. The Stay-Home Order, both on its face and as applied, constitutes a substantial
 6   burden on Plaintiffs’ deep-seated sincerely-held religious beliefs.

 7           65. The Stay-Home Order, both on its face and as applied, fails to accommodate

 8   Plaintiffs’ deep-seated sincerely-held religious beliefs.
             66. The State of Idaho lacks a compelling, legitimate, or rational interest in the Stay-
 9
     Home Order’s application of disparate standards for religious and non-religious entities and
10
     gatherings.
11           67. Even if the Stay-Home Order’s restrictions on religious gatherings were
12   supported by a compelling state interest (which they are not), they are not the least restrictive

13   means available to accomplish the purported state interest, as evidenced by the rejection of
     the alternatives recited in Exhibit D.
14
             68. The Stay-Home Order, both on its face and as applied, specifically targets
15
     Plaintiffs’ deep-seated sincerely-held religious beliefs and established a system of
16
     exemptions that allows other similarly situated non-religious entities and gatherings to
17   continue while prohibiting religious entities and gatherings, such as Plaintiffs’ churches,
18   church services, and administration of Sacraments, from operating with similar guidelines.

19           69. The Stay-Home Order, both on its face and as applied, has caused, is causing, and
     will continue to cause Plaintiffs immediate and irreparable harm, actual and undue hardship.
20
             70. Plaintiffs have no adequate remedy at law to correct the continuing deprivation of
21
     their Constitutional rights.
22
             71. THEREFORE, Plaintiffs respectfully pray for relief against Defendants as set
23   forth in their prayer for relief, infra.


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 1                                              COUNT II:

 2                            Violation of the Establishment Clause of the
                               First Amendment to the U.S. Constitution
 3
             72. Plaintiffs incorporate by reference all paragraphs in Sections I through IV, supra.
 4
             73. As documented in Exhibit D, Declaration of Rev. Krenz, the Declaration of
 5
     Plaintiff Herndon, attached as Exhibit I and incorporated by reference, the Declaration of
 6   Plaintiff Jones, attached as Exhibit J and incorporated by reference, and Declaration of

 7   Plaintiff Gulotta, attached as Exhibit H and incorporated by reference, the deep-seated

 8   sincerely-held religious beliefs of many Christians, such as Plaintiffs, require both a physical
     gathering together and a physical administration of the Sacraments.
 9
             74. However, as documented in Exhibit C, the only legal way, according to the Stay-
10
     Home Order, Plaintiffs may conduct church services is by live-streaming them (with a
11   maximum of five people involved).
12           75. Put another way, the Stay-Home Order promotes those religions that can be

13   practiced online, while inhibiting and chilling those religions and religious activities that
     cannot be practiced online.
14
             76. Although live-streaming might be sufficient for some sincerely-held religious
15
     beliefs, it is not sufficient for the deep-seated sincerely-held religious beliefs of Plaintiffs.
16
             77. Therefore, the Stay-Home Order is an unconstitutional establishment of religion,
17   favoring those religions that can be practiced virtually and prohibiting those religions and
18   religious activities that cannot.

19           78. The Stay-Home Order violates the Establishment Clause by prohibiting all live
     gatherings and explicitly promoting only online broadcast services, with no more than five
20
     people involved, thereby establishing the manner by which Christians and others will
21
     exercise their sincerely-held religious beliefs.
22
             79. But, the Establishment Clause prohibits the State of Idaho from either dictating or
23   prohibiting, under penalty of legal sanctions, the manner, style, form, practices, or


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 1   sacraments of religious exercise, and thereby imposing its own version of religious exercise

 2   on every church and citizen in the state.
            80. Indeed, the Stay-Home Order directly contravenes the Supreme Court’s holding
 3
     that, “no official, high or petty, can prescribe what shall be orthodox in politics, nationalism,
 4
     religion, or other matters of opinion or force citizens to confess by word or act their faith
 5
     therein.” W. Va. State Bd. of Educ. v. Barnette, 319 U.S. 624, 642 (1943).
 6          81. By imposing a mode of worship, the Stay-Home Order is imposing belief,

 7   according to the ancient theological maxim, “Lex Orandi, Lex Credendi” 2: the law of prayer

 8   is the law of belief; otherwise said, how you worship will affect how – and therefore in
     whom – you believe.
 9
            82. Defendants, through the Stay-Home Order, are prescribing the only legally
10
     permitted manner of worship, and therefore what shall be orthodox versus what shall be
11   prohibited in matters of religious worship, in direct violation of the Establishment Clause.
12          83. The Stay-Home Order, both on its face and as applied, demonstrates

13   unconstitutional hostility toward religious gatherings.
            84. The Stay-Home Order, both on its face and as applied, unconstitutionally favors
14
     certain non-religious gatherings over religious ones.
15
            85. The Stay-Home Order, both on its face and as applied, orders churchgoers and
16
     other people attempting to exercise their religion how and where they may and may not
17   worship, assemble together, or otherwise exercise their religion.
18

19

20

21   2The origin of this maxim is credited to the 5th-century Prosper of Aquitaine and disciple of
     St. Augustine of Hippo, who wrote urging the uniform administration of the Liturgy and
22   Sacraments throughout the world: “ut legem credendi lex statuat supplicandi.” He was
     arguing for uniform administration of the Liturgy and Sacraments “that the law of praying
23   might establish the law of believing,” to the end that the faith might therefore be “catholic”
     or “universal.”

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 1           86. The Stay-Home Order, both on its face and as applied, establishes lawful and

 2   unlawful methods of religious practice and worship, places limitations on how such religious
     practice and worship may and may not occur, and provides government approval for certain,
 3
     novel forms of worship, while prohibiting the exercise of religion as it has been carried out in
 4
     the world for two millennia and in the United States for 400 years since William Bradford
 5
     and the other Pilgrims set foot on this soil.
 6           87. The Stay-Home Order, both on its face and as applied, violates the Establishment

 7   Clause because it excessively entangles the government with religion.

 8           88. The Stay-Home Order, both on its face and as applied, outright forbids, under
     penalty of law, all religious practice and worship that does not conform to the government-
 9
     sanctioned practices.
10
             89. The Stay-Home Order, both on its face and as applied, outright forbids, under
11   penalty of law, the exercise of religion as it has been practiced worldwide for two millennia
12   and in the United States for 400 years.

13           90. The Stay-Home Order, both on its face and as applied, has caused, is causing, and
     will continue to cause Plaintiffs immediate and irreparable harm and actual and undue
14
     hardship.
15
             91. Plaintiffs have no adequate remedy at law to correct the continuing deprivation of
16
     their Constitutional rights.
17           92. THEREFORE, Plaintiffs respectfully pray for relief against Defendants as set
18   forth in their prayer for relief, infra.

19                                              COUNT III:
                              Violation of Free Speech Protected under the
20
                                First Amendment to the U.S. Constitution
21
             93. Plaintiffs incorporate by reference all paragraphs in Sections I through IV, supra.
22
             94. The Stay-Home Order, both on its face and as applied, is an unconstitutional prior
23   restraint on Plaintiffs’ free speech.


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 1           95. The Stay-Home Order, both on its face and as applied, unconstitutionally

 2   discriminates on the basis of viewpoint.
             96. The Stay-Home Order, both on its face and as applied, unconstitutionally
 3
     discriminates on the basis of content.
 4
             97. The State of Idaho lacks a compelling, legitimate, or rational interest in the Stay-
 5
     Home Order’s application of disparate standards for religious and non-religious entities and
 6   gatherings.

 7           98. Even if the Stay-Home Order’s restrictions on religious gatherings were

 8   supported by a compelling state interest (which they are not), they are not the least restrictive
     means available to accomplish the purported state interest, as evidenced by the rejection of
 9
     the alternatives recited in Exhibit D.
10
             99. The Stay-Home Order, both on its face and as applied, fails to leave open
11   alternative channels of communication for Plaintiffs.
12           100.    The Stay-Home Order, both on its face and as applied, is irrational and

13   unreasonable and arbitrarily imposes unjustifiable and unreasonable restrictions on Plaintiffs’
     constitutionally protected speech.
14
             101.    The Stay-Home Order, both on its face and as applied, impermissibly vests
15
     unfettered discretion in the hands of government officials, including Plaintiffs and their
16
     designees, to arbitrarily apply or not apply the Stay-Home Order in a manner to restrict free
17   speech.
18           102.    The Stay-Home Order, both on its face and as applied, is under-inclusive by

19   arbitrarily limiting its prohibitions to only certain persons or entities not classified in the
     Stay-Home Order as “essential.”
20
             103.    The Stay-Home Order, both on its face and as applied, is unconstitutionally
21
     over-broad and chills and abridges the free speech rights of Plaintiffs.
22

23


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 1            104.     As documented in Exhibit A and described supra, the Stay-Home Order bans

 2   all “non-essential” travel and church and pastors are arbitrarily excluded from the definitions
     of “essential.”
 3
              105.     Thus, should Plaintiffs travel anywhere for the purpose of preaching about the
 4
     Christian God (other than a maximum of five for a live-stream broadcast), hearing the Word
 5
     of God, administering a religious Sacrament, or receiving a Sacrament, as are required by
 6   their sincerely-held religious beliefs, they would be violating the Stay-Home Order.

 7            106.     In the absence of declaratory and injunctive relief, Plaintiffs will continue to

 8   be irreparably harmed.
              107.     Plaintiffs have no adequate remedy at law to correct the continuing
 9
     deprivation of their Constitutional rights.
10
              108.     THEREFORE, Plaintiffs respectfully pray for relief against Defendants as set
11   forth in their prayer for relief, infra.
12                                               COUNT IV:

13                       Violation of the Right to Assemble Protected under the
                                First Amendment to the U.S. Constitution
14
              109.     Plaintiffs incorporate by reference all paragraphs in Sections I through IV,
15
     supra.
16
              110.     The First Amendment prohibits the State from violating Plaintiffs’ right to
17   peaceably assemble.
18            111.     The Stay-Home Order, both on its face and as applied, arbitrarily prohibits

19   Plaintiffs from peacefully assembling with their respective church congregations for the
     purpose of exercising their religion.
20
              112.     There is no legitimate, rational, substantial, or compelling governmental
21
     interest in the prohibition against such assemblies.
22

23


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 1            113.    Specifically, there is no government interest in prohibiting religious

 2   gatherings with the same safeguards as are permitted to other “essential” businesses and
     activities.
 3
              114.    The Stay-Home Order, both on its face and as applied, arbitrarily fails to
 4
     allow for less-restrictive means of meeting the stated objectives of the Stay-Home Order.
 5
              115.    The Stay-Home Order, both on its face and as applied, constitutes a violation
 6   of Plaintiffs’ First Amendment rights because Plaintiffs and their fellow churchgoers are not

 7   any closer to one another than are the random customers at any of the businesses that the

 8   Stay-Home Order defines as “essential.”
              116.    Thus, the arbitrary prohibition against religious gatherings constitutes an as-
 9
     applied violation of Plaintiffs’ First Amendment right to assemble.
10
              117.    Plaintiffs have no adequate remedy at law to correct the continuing
11   deprivation of their Constitutional rights.
12            118.    THEREFORE, Plaintiffs respectfully pray for relief against Defendants as set

13   forth in their prayer for relief, infra.
                                                COUNT V:
14
                     Violation of Procedural and Substantive Due Process under the
15
                                    Fifth and Fourteenth Amendments
16
              119.    Plaintiffs incorporate by reference all paragraphs in Sections I through IV,
17   supra.
18            120.    The Due Process Clause of the Fifth Amendment, as applied through the

19   Fourteenth Amendment, prohibits the State from depriving citizens of life, liberty, or
     property without due process of law.
20
              121.    The right to due process of law includes the right to be free from vague or
21
     arbitrary guidelines granting officials unbridled discretion.
22
              122.    The right to due process of law also includes the right to a hearing before a
23   business is shut down.


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 1             123.   It would border on ludicrous for anyone to suggest that the rights herein raised

 2   – speech and assembly and establishment of religion and free exercise of religion and equal
     treatment under the law – are anything except fundamental to our centuries-old legal system.
 3
     The Supreme Court, and history itself, have left no room for that argument.
 4
               124.   As the Supreme Court said in Brown v. Walker, 161 U.S. 591 (1896):
 5
               As the object of the first eight amendments to the constitution was to
 6             incorporate into the fundamental law of the land certain principles of natural

 7             justice which had become permanently fixed in the jurisprudence of the

 8             mother country, the construction given to those principles by the English
               courts is cogent evidence of what they were designed to secure and of the
 9
               limitations that should be put upon them. This is but another application of
10
               the familiar rule that, where one state adopts the laws of another, it is also
11             presumed to adopt the known and settled construction of those laws by the
12             courts of the state from which they are taken.

13             125.   And as it said the following year in Robertson v. Baldwin, 165 U.S. 275, 281
     (1897):
14
               The law is perfectly well settled that the first 10 amendments to the
15
               constitution, commonly known as the ‘Bill of Rights,’ were not intended to
16
               lay down any novel principles of government, but simply to embody certain
17             guaranties and immunities which we had inherited from our English ancestors,
18             and which had, from time immemorial, been subject to certain well-

19             recognized exceptions, arising from the necessities of the case.
               126.   Or as the Supreme Court said in Grosjean v. American Press Co., 297 U.S.
20
     233, 243–44 (1936) (held: a state tax was unconstitutional under the due process of law
21
     clause because it abridged the freedom of the press, a 1st Amendment right): “We concluded
22
     that certain fundamental rights, safeguarded by the first eight amendments against federal
23   action, were also safeguarded against state action by the due process of law clause of the


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 1   Fourteenth Amendment, and among them the fundamental right of the accused to the aid of

 2   counsel in a criminal prosecution.” Religion and assembly are also First Amendment rights.
             127.        And as the Supreme Court said in Malloy v. Hogan, 378 U.S. 1, 10–11
 3
     (1964): “The Court thus has rejected the notion that the Fourteenth Amendment applies to
 4
     the States only a watered-down, subjective version of the individual guarantees of the Bill of
 5
     Rights.”
 6           128.        And in McDonald v. City of Chicago, Ill., 561 U.S. 742, 784-85 (2010) (held:

 7   the 2nd Amendment applies to the States) the Court said:

 8           Under our precedents, if a Bill of Rights guarantee is fundamental from an
             American perspective, then, unless stare decisis counsels otherwise, that
 9
             guarantee is fully binding on the States and thus limits (but by no means
10
             eliminates) their ability to devise solutions to social problems that suit local
11           needs and values. As noted by the 38 States that have appeared in this case as
12           amici supporting petitioners, “[s]tate and local experimentation with

13           reasonable firearms regulations will continue under the Second Amendment.”
     Brief for State of Texas et al. 23.
14
             129.        And just this year the Supreme Court said in Ramos v. Louisiana, No. 18-
15
     5924, 2020 WL 1906545, at *6 (U.S. Apr. 20, 2020), citing Malloy v. Hogan: “This Court
16
     has long explained, too, that incorporated provisions of the Bill of Rights bear the same
17   content when asserted against States as they do when asserted against the federal
18   government.”

19           130.        There is a self-evident constitutional problem when beer, wine, whiskey,
     guns, and abortions are permitted in Idaho (see Section 8 of the Stay-Home Order), but an
20
     ordinary Sunday church service, the same as has been practiced since the Pilgrims arrived
21
     here, is illegal.
22
             131.        All fundamental constitutional rights are, as a matter of law, “essential.”
23


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 1          132.    The church-closure order within the Stay-Home Order violates the Due

 2   Process Clause of the Fifth and Fourteenth Amendments in that, by its express terms, it
     arbitrarily shuts down all church activities including Plaintiffs’ church activities without any
 3
     advance notice or warning, and without any hearing.
 4
            133.    The church-closure order as amended by the “Additional Guidance on
 5
     Statewide Stay-Home Order” (Exhibit C) violates the Due Process Clause of the Fifth and
 6   Fourteenth Amendments because, by its express terms, it arbitrarily caps church attendance

 7   at 5 people (and that only for the purpose of recording) without any explanation, and without

 8   any discussion over how Plaintiffs’ particular congregations arrange themselves, whereas
     more than 5 people can and do distance themselves 6 feet from other customers while in
 9
     businesses that are allowed to remain open.
10
            134.    As documented in the declarations, law enforcement have told the pastors that
11   the order prohibits church gatherings with more than 5 people total.
12          135.    Thus, the State’s church-closure order violates the Due Process Clause of the

13   Fifth and Fourteenth Amendments facially.
            136.    Thus, the State’s church-closure order violates the Due Process Clause of the
14
     Fifth and Fourteenth Amendments as it is applied to Plaintiffs specifically.
15
            137.    The Stay-Home Order summarily and arbitrarily deprives Plaintiffs and all
16
     citizens in Idaho of their usual Sunday church attendance.
17          138.    The Stay-Home Order summarily and arbitrarily deprives Plaintiffs and all
18   citizens in Idaho of any in-person reception of any religious sacrament at all.

19          139.    Summarily and arbitrarily depriving citizens in Idaho of their usual Sunday
     church attendance and any in-person reception of any religious sacrament at all, necessarily
20
     violates Substantive Due Process, for it is a denial of several protected constitutional rights:
21
     religion, speech, assembly, and Equal Protection.
22
            140.    Summarily and arbitrarily quarantining citizens is also a violation of Due
23   Process.


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 1            141.     Further, Defendants have not shown a compelling reason for these violations

 2   of constitutional rights, nor can they.
              142.     Plaintiffs have no adequate remedy at law to correct the continuing
 3
     deprivation of their Constitutional rights.
 4
              143.     THEREFORE, Plaintiffs respectfully pray for relief against Defendants as set
 5
     forth in their prayer for relief, infra.
 6                                               COUNT VI:

 7                   Violation of Equal Protection under the Fourteenth Amendment

 8            144.     Plaintiffs incorporate by reference all paragraphs in Sections I through IV,
     supra.
 9
              145.     The Stay-Home Order, both on its face and as applied, is an unconstitutional
10
     abridgment of Plaintiffs’ right to equal protection under the law, is not neutral, and
11   specifically targets religious gatherings for unequal treatment.
12            146.     Under the Stay-Home Order, Plaintiff Jones and Gulotta and their

13   parishioners may legally drive to McDonald’s, talk to the McDonald’s employee through the
     open car window, hand that employee money, receive change back from the hand of that
14
     employee, and receive food and drinks through the car window from another employee’s
15
     hands.
16
              147.     But, as documented in Exhibit D, Declaration of Rev. Krenz, these same
17   parishioners may not legally drive to any parking lot or any driveway, stop their cars, talk to
18   Plaintiffs Jones or Gulotta or any clergy through their open car windows, and receive food

19   and drink (the Sacrament of the Lord’s Supper) from the hand of Plaintiff Jones or any
     clergy through that car window.
20
              148.     That disparity is a targeted discrimination against the practice of religion.
21
              149.     The Stay-Home Order, both on its face and as applied, violates the Equal
22
     Protection Clause by arbitrarily treating Plaintiffs differently from other similarly situated
23


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 1   non-religious persons on the basis of the content and viewpoint of their gatherings and

 2   speech.
             150.      There is no compelling state reason, or legitimate purpose, in allowing
 3
     citizens to interact with other people in a drive-through food line and when receiving
 4
     deliveries at their front door, but not when attending church services in their car.
 5
             151.      More specifically, there is no compelling state reason or legitimate purpose in
 6   allowing citizens to interact with other people in a drive-through food line, or when receiving

 7   deliveries at their front door, but not with Plaintiffs Jones and Gulotta or another pastor in the

 8   context of receiving religious sacraments.
             152.      The State does not have a compelling reason for shutting down live church
 9
     services while keeping other live businesses open where there is similar public exposure, nor
10
     has the State selected the least restrictive means to further any purported interest.
11           153.      That is, the disparity mentioned above demonstrates that the government
12   action has no rational relationship with the stated purpose of curtailing the spread of COVID-

13   19; if it did, then drive-through food service and home delivery of food would also be
     forbidden.
14
             154.      The Stay-Home Order, both on its face and as applied, unconstitutionally
15
     discriminates between religious and non-religious gatherings.
16
             155.      Further, by expressly allowing churches to operate via live-streaming while
17   forbidding churches from any in-person gatherings or administration of the Sacraments, the
18   State has overtly favored religious beliefs that can be exercised virtually.

19           156.      The State does not have a compelling, legitimate, or rational reason or
     purpose for this favoritism of some religions over others.
20
             157.      Neither has the State selected the least restrictive means to further any
21
     purported legitimate government interest.
22
             158.      The Stay-Home Order, both on its face and as applied, is arbitrary and lacks a
23   rational basis.


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 1            159.   The Stay-Home Order, both on its face and as applied, is arbitrary, irrational,

 2   and unjustifiable and imposes arbitrary, irrational, and unjustifiable restrictions on Plaintiffs’
     religious gatherings.
 3
              160.   Plaintiffs have no adequate remedy at law to correct the continuing
 4
     deprivation of their Constitutional rights.
 5
              161.   THEREFORE, Plaintiffs respectfully pray for relief against Defendants as set
 6   forth in their prayer for relief, infra.

 7                                              COUNT VII:

 8                             Idaho Religious Freedom Act (I.C. 73-402)
              162.   Plaintiffs incorporate by reference all paragraphs in Sections I through IV,
 9
     supra.
10
              163.   Plaintiffs incorporate by reference all paragraphs in Counts I through VI,
11   supra.
12            164.   Idaho Code § 73-402, also known as the Religious Freedom Restoration Act

13   (RFRA), begins with these words: “Free exercise of religion is a fundamental right that
     applies in this state, even if laws, rules or other government actions are facially neutral.”
14
              165.   If free exercise of religion is a fundamental right, then it is, by definition,
15
     “essential.”
16
              166.   That statute further provides as a general matter that state government “shall
17   not substantially burden a person’s exercise of religion even if the burden results from a rule
18   of general applicability.”

19            167.   For the reasons expressed above, the Stay-Home Order, which purports to be
     a rule of general applicability for the entire State of Idaho, arbitrarily imposes upon Plaintiffs
20
     a substantial burden on the exercise of religion.
21
              168.   RFRA provides that the state government can “substantially burden a person’s
22
     exercise of religion only if it demonstrates that application of the burden to the person is
23


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 1   both: (a) Essential to further a compelling governmental interest; (b) The least restrictive

 2   means of furthering that compelling governmental interest.”
              169.   As explained above, the outright closure of live church is not essential to
 3
     further a state government interest; e.g., there is no material difference between drive-
 4
     through food service or home-delivery of pizza, and, for instance, the several proposals that
 5
     Rev. Krenz proposed to Police Chief Fry, as described in the former’s Declaration, Exhibit
 6   D.

 7            170.   For the same reasons, the outright closure of live church is not the least

 8   restrictive means of furthering the government’s stated interest.
              171.   Thus, Plaintiffs are suffering a violation of their state religious freedom.
 9
              172.   In the absence of declaratory and injunctive relief, Plaintiffs will continue to
10
     be irreparably harmed.
11            173.   THEREFORE, Plaintiffs respectfully pray for relief against Defendants as set
12   forth in their prayer for relief, infra, and award Plaintiffs mandatory attorneys’ fees pursuant

13   to I.C. § 73-402(4).
                                               COUNT VIII:
14
                               Idaho Constitution Art. 1 Sec. 1 Freedom
15
              174.   Plaintiffs incorporate by reference all paragraphs in Sections I through IV,
16
     supra.
17            175.   Plaintiffs incorporate by reference all paragraphs in Counts I through VII,
18   supra.

19            176.   The Idaho Constitution provides that, “All men are by nature free and equal,
     and have certain inalienable rights, among which are enjoying and defending life and liberty;
20
     acquiring, possessing and protecting property; pursuing happiness and securing safety.”
21
              177.   Further, Defendants have not shown a compelling reason for these violations
22
     of constitutional rights, nor can they.
23


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 1            178.   In the absence of declaratory and injunctive relief, Plaintiffs will continue to

 2   be irreparably harmed.
              179.   THEREFORE, Plaintiffs respectfully pray for relief against Defendants as set
 3
     forth in their prayer for relief, infra.
 4
                                                COUNT IX:
 5
                           Idaho Constitution Art. 1 Sec. 4 Religious Liberty
 6            180.   Plaintiffs incorporate by reference all paragraphs in Sections I through IV,

 7   supra.

 8            181.   The Idaho Constitution provides that, “The exercise and enjoyment of
     religious faith and worship shall forever be guaranteed.”
 9
              182.   Plaintiffs incorporate by reference all paragraphs in Counts I through VII,
10
     supra.
11            183.   In the absence of declaratory and injunctive relief, Plaintiffs will continue to
12   be irreparably harmed.

13            184.   THEREFORE, Plaintiffs respectfully pray for relief against Defendants as set
     forth in their prayer for relief, infra.
14
                                                COUNT X:
15
                              Idaho Constitution Art. 1 Sec. 9 Free Speech
16
              185.   Plaintiffs incorporate by reference all paragraphs in Sections I through IV,
17   supra.
18            186.   The Idaho Constitution provides that every person may freely speak on all

19   subjects.
              187.   Plaintiffs incorporate by reference all paragraphs in Counts I through VII,
20
     supra.
21
              188.   In the absence of declaratory and injunctive relief, Plaintiffs will continue to
22
     be irreparably harmed.
23


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 1            189.   THEREFORE, Plaintiffs respectfully pray for relief against Defendants as set

 2   forth in their prayer for relief, infra.
                                                COUNT XI:
 3
                          Idaho Constitution Art. 1 Sec. 10 Right of Assembly
 4
              190.   Plaintiffs incorporate by reference all paragraphs in Sections I through IV,
 5
     supra.
 6            191.   The Idaho Constitution provides that the people of Idaho shall have the right

 7   to assemble in a peaceable manner.

 8            192.   Plaintiffs incorporate by reference all paragraphs in Counts I through VII,
     supra.
 9
              193.   In the absence of declaratory and injunctive relief, Plaintiffs will continue to
10
     be irreparably harmed.
11            194.   THEREFORE, Plaintiffs respectfully pray for relief against Defendants as set
12   forth in their prayer for relief, infra.

13                                              COUNT XII:
                 Idaho Constitution Art. 21 Sec. 19 Religious Freedom Guaranteed
14
              195.   Plaintiffs incorporate by reference all paragraphs in Sections I through IV,
15
     supra.
16
              196.   Plaintiffs incorporate by reference all paragraphs in Counts I through VII
17   supra.
18            197.   The Idaho Constitution provides that “perfect toleration of religious sentiment

19   shall be secured.”
              198.   In the absence of declaratory and injunctive relief, Plaintiffs will continue to
20
     be irreparably harmed.
21
                                                COUNT XIII:
22
                          Religious Land Use and Institutionalized Persons Act
23                                     42 U.S.C. §§ 2000cc-2000cc-5


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 1            199.   Plaintiffs incorporate by reference all paragraphs in Sections I through IV,

 2   supra.
              200.   Plaintiffs incorporate by reference all paragraphs in Counts I through VI and
 3
     XII, supra.
 4
              201.   Under the Religious Land Use and Institutionalized Persons Act, 42 U.S.C. §§
 5
     2000cc-2000cc-5 (RLUIPA), “[n]o government shall impose or implement a land use
 6   regulation in a manner that imposes a substantial burden on the religious exercise of a

 7   person, including a religious assembly or institution.” 42 U.S.C. § 2000cc(a)(1).

 8            202.   To justify religious restrictions, the State must demonstrate that the burden it
     imposes is supported by a compelling state interest and is the least restrictive means to
 9
     further that alleged state interest.
10
              203.   The RLUIPA also prohibits the State from “impos[ing] or implement[ing] a
11   land use regulation in a manner that treats a religious assembly or institution on less than
12   equal terms with a nonreligious assembly or institution.” 42 U.S.C. § 2000cc(b)(1).

13            204.   The RLUIPA further prohibits the State from “impos[ing] or implement[ing]
     a land use regulation that (A) totally excludes religious assemblies from a jurisdiction; or (B)
14
     unreasonably limits religious assemblies, institutions, or structures within a jurisdiction.” 42
15
     U.S.C. § 2000cc(b)(3).
16
              205.   The Stay-Home Order, both on its face and as applied, arbitrarily precludes
17   Plaintiffs’ exercise of their sincerely-held religious beliefs by prohibiting religious
18   gatherings; in other words, Plaintiffs’ use of their church lands is substantially burdened.

19            206.   Plaintiffs are forced by the Stay-Home Order to either change their deep-
     seated sincerely-held religious beliefs or to act in contradiction to them; they are forced to
20
     choose between the requirements of their deep-seated sincerely-held religious beliefs in
21
     Scripture and the requirements imposed by the Stay-Home Order.
22
              207.   The Stay-Home Order, both on its face and as applied, constitutes a
23   substantial burden on Plaintiffs’ sincerely-held religious beliefs.


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 1           208.    The State of Idaho lacks a compelling, legitimate, or rational interest in the

 2   Stay-Home Order’s application of disparate standards for religious and non-religious entities
     and gatherings.
 3
             209.    Even if the Stay-Home Order’s restrictions on religious gatherings were
 4
     supported by a compelling state interest (they are not), they are not the least restrictive means
 5
     available to accomplish the purported state interest, as evidenced by the rejection of the
 6   alternatives recited in Exhibit D.

 7           210.    The Stay-Home Order, both on its face and as applied, has caused, is causing,

 8   and will continue to cause Plaintiffs immediate and irreparable harm and actual and undue
     hardship.
 9
             211.    Plaintiffs have no adequate remedy at law to correct the continuing
10
     deprivation of their Constitutional rights.
11           212.    THEREFORE, Plaintiffs respectfully pray for relief against Defendants as set
12   forth in their prayer for relief, infra.

13                                      V.      PRAYER FOR RELIEF
             Wherefore, Plaintiffs respectfully request relief as follows:
14
         A. That the Court issue a Temporary Restraining Order restraining and enjoining
15
             Defendants, all State officers, agents, employees, and attorneys, and all other persons
16
             in active concert or participation with them, from enforcing, attempting to enforce,
17           threatening to enforce, or otherwise requiring compliance with the Stay-Home Order
18           or any other order to the extent any such order prohibits religious worship services at

19           any church or place of religious worship in Idaho, including in-person church
             services at any such place of worship that meets the “social distancing” and other
20
             sanitary requirements applicable to “essential” businesses and services that are and
21
             have been permitted under the Stay-Home Order to remain open to large public
22
             gatherings.
23


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 1      B. That the Court enter a permanent Order declaring that Defendants have unlawfully

 2         burdened Plaintiffs’ rights as claimed herein.
        C. That the Court permanently enjoin Defendants from prohibiting Plaintiffs from
 3
           physically gathering for religious purposes, including, without limitation,
 4
           administration of Sacraments.
 5
        D. That the Court retain jurisdiction over the matter for the purposes of enforcing the
 6         Court’s order.

 7      E. That the Court declare Plaintiffs as prevailing parties and award them the reasonable

 8         costs and expenses of this action, including reasonable attorney fees, in accordance
           with 42 U.S.C. § 1988 and I.C. § 73-402(4).
 9
        F. That the Court grant such other and further relief as the Court deems equitable and
10
           just under the circumstances.
11                                         Respectfully submitted this 30th day of April, 2020
12                                         By:    BOYLES LAW, PLLC

13                                                /s/ D. Colton Boyles
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